
Chief Judge Breitel.
In a special proceeding under CPLR 7503 for a permanent stay of arbitration demanded by a teachers’ association under teacher grievance procedure, the school district appeals. The Appellate Division had affirmed an order directing it to proceed to arbitration under a collective bargaining agreement.
The alleged grievance still in issue relates to a staff reduction in the 1973-1974 school budget. The reduction had been included in the budget allegedly contrary to the collective bargaining agreement which had stabilized average class sizes and staff size. The agreement also provided for hiring two additional teachers for the academic year in question. Contending that the staff reduction violated the collective bargaining agreement, the teachers’ association demanded arbitration, seeking reinstatement of the abolished positions. In its petition, the school district maintained that staff size, as a matter of law and policy, is within the board’s exclusive prerogative, and therefore not arbitrable.
Prefatorily, it is important to note that the expansive rule expressed in Board of Educ. v Associated Teachers of Huntington (30 NY2d 122, 130) that, in the absence of statutory provisions which prohibit collective bargaining as to a particular term or condition, any subject matter in controversy between a board of education and its teachers is subject to arbitration under a broad arbitration clause, has been restated, and more accurately, in Syracuse Teachers Assn. v Board of Educ. (35 NY2d 743, 744). In the Syracuse case, it was said that "collective bargaining under the Taylor Law (Civil Service Law, § 204, subd 1) has broad scope with respect to the terms and conditions of employment, limited by plain and clear, rather than express, prohibitions in the statute or decisional law”. Yet even this is not the sum of it.
Public policy, whether derived from, and whether explicit or *617implicit in statute or decisional law, or in neither, may also restrict the freedom to arbitrate. School matters are but one example; indeed, matters affecting marriage, child custody, and the like, are not subject to unbridled arbitrability, as might be the case in a private building construction agreement (see, e.g., Schneider v Schneider, 17 NY2d 123, 127-128; Sheets v Sheets, 22 AD2d 176, 178; Matter of Fence v Fence, 64 Misc 2d 480, 483-484 [Polier, J.]; see, generally, Arbitration — Alimony—Support—Custody, Ann., 18 ALR 3d 1264; Domke, Commercial Arbitration, § 13.09, pp 128-129).
Key to the analysis is that the freedom to contract in exclusively private enterprises or matters does not blanket public school matters because of the governmental interests and public concerns which may be involved, however rarely that may ever be. In this case, however, it has not been shown and it does not appear that there is any restrictive policy, however derived, limiting the freedom to contract concerning staff size.
Turning directly to the issue at hand, there is a simple dichotomy. A marked distinction exists between a duty to engage in collective bargaining, and a freedom to agree to submit controversies, whether or not subject to mandatory bargaining, to arbitration. Illustrative of this dichotomy and distinction are Matter of West Irondequoit Teachers Assn. v Helsby (35 NY2d 46) and Matter of Board of Educ. v Associated Teachers of Huntington (30 NY2d 122, supra).
In the West Irondequoit case (supra), the court held that the Public Employment Relations Board, within its authority under article 14 of the Civil Service Law (the Taylor Law), was empowered to determine that, since class size was not a term or condition of employment, it was not subject to mandatory collective bargaining (pp 51-52). On the other hand, in the Huntington case (supra), it was held that certain terms and conditions of employment were subjects about which the board of education and its teachers were free to agree to arbitrate, without violating statute, decisional law, or public policy (p 129).
The present case involves enforcement of an agreement to arbitrate; hence, the rule of the Huntington case (supra) determines the result. It does not involve a compulsion to bargain collectively, in which event the rule of the West Irondequoit case would be applicable.
Thus, the board of education was always free to bargain *618voluntarily about staff size and was also, therefore, free to agree to submit to arbitration disputes about staff size.
Accordingly, the order of the Appellate Division should be affirmed, without costs.
